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 7   Attorneys for Plaintiffs JOHN HUEBNER and IRMIN
     LANGTON, on behalf of themselves and others similarly situated
 8
 9                               UNITED STATES DISTRICT COURT
10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     JOHN HUEBNER and IRMIN LANGTON,                Case No. 3:14-cv-04735-VC
13   on behalf of themselves and others similarly
     situated,                                      [Assigned to the Honorable Vince Chhabria]
14
                           Plaintiffs,              [CLASS ACTION]
15
                   v.                               PLAINTIFFS’ OBJECTIONS TO THE
16                                                  DECLARATION OF BITSELLER EXPERT
     RADARIS, LLC, a Massachusetts limited          LIMITED
17   liability company; RADARIS AMERICA,
     INC., a Delaware corporation; and EDGAR
18   LOPIN, an individual,
19                         Defendants.
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                                                                        Case No. 3:14-cv-04735-VC
                                                                         Plaintiffs’ Objections to the
                                                              Declaration of Bitseller Expert Limited
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 1          Plaintiffs John Huebner and Irmin Langton (together, “Plaintiffs”) hereby object to the

 2 Declarations of Eugene Lazarev on behalf of Bitseller Expert Limited filed in support of the
 3 Emergency Motion filed by Bitseller Expert Ltd. (“Bitseller”) and Accuracy Consulting Ltd.
 4 (“Accuracy”).
 5          The Lazarev Declaration is fatally flawed in numerous respects. First, Lazarev provides no

 6 foundation for his assertions that: (1) Bitseller is a valid Cyprus corporation; (2) Bitseller operated
 7 the radaris.com website; (3) Accuracy was the registrant of radaris.com; (4) Radaris, LLC never
 8 owned or operated or was the registrant for radaris.com; and (5) Edgar Lopin never has run or
 9 operated or been the registrant for radaris.com. See Fed. R. Evid. 401-403; Rogers v. Raymark
10 Indus., Inc., 922 F. 2d 1426, 1430 (9th Cir. 1990) (“Rule 403 permits the court to exclude
11 evidence if its probative value is substantially outweighed by the danger of unfair prejudice,
12 confusion of the issues, misleading the jury, or needless presentation of cumulative evidence.”)
13 (citing Rule 403). Lazarev does not provide any evidence showing: what his role an job duties
14 are at Bitseller, how he acquired knowledge of the information to which he attests, the dates and
15 continued validity of the corporate existence of either Bitseller or Accuracy, where these entities
16 supposedly are physically located, who works at these entities, what their relationship is to Lopin
17 and the Radaris entities, the registrant history of radaris.com, what business Bitseller is engaged in
18 and what business Accuracy is engaged in, the relationship between Accuracy and Bitseller, the
19 history of ownership and operation of radaris.com, to whom and what entities revenue from
20 radais.com flows, why he believes that Radaris America was a “public relations company” or
21 anything about what functions it carries out. Nothing in the declaration suggests that Lazarev is
22 knowledgeable about the facts regarding the website or inter-related corporations.
23          The Lazarev Declaration also consists of inadmissible hearsay. See Fed. R. Evid. 801-802;

24 Wagner v. County of Maricopa, 706 F. 3d 942, 950 (9th Cir. 2012) (“Hearsay ‘is a statement,
25 other than one made by the declarant while testifying at the trial or hearing, offered in evidence to
26 prove the truth of the matter asserted.’”) (quoting Fed. R. Evid. 801(c)). Lazarev’s assertions
27 regarding the contents of the terms of use on radaris.com, the registration of radaris.com with
28 Accuracy, the contents of a WhoIs record search, and the status of Radaris America, Radaris,
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                                                                  Declaration of Bitseller Expert Limited
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 1 LLC, and Lopin as owners and registrants of radaris.com all are hearsay for which no exception
 2 exists.
 3           For the foregoing reasons, Plaintiffs respectfully request that the Court strike the Lazarev

 4 Declaration and not consider it as evidence.
 5
 6 DATED: March 8, 2018                               COUNSELONE, PC

 7
 8                                                     By /s/ Alexandria R. Kachadoorian
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 9                                                       Alexandria R. Kachadoorian
                                                         Justin Kachadoorian
10                                                       Attorneys for Plaintiffs and the Class
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